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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF ARKANSAS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Benjamin                                                        Lindsay
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Carlyle                                                         Carlyle
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years Benji Carlyle
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9669                                                     xxx-xx-2052
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1   Benjamin Carlyle
Debtor 2   Lindsay Carlyle                                                                            Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1002 Golf Course Drive
                                 Searcy, AR 72143
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 White
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                               Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                                Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                               Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Benjamin Carlyle                                              /s/ Lindsay Carlyle
                                 Benjamin Carlyle                                                  Lindsay Carlyle
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     August 30, 2019                                   Executed on     August 30, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Benjamin Carlyle
Debtor 2   Lindsay Carlyle                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Lyndsey D. Dilks                                               Date         August 30, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Lyndsey D. Dilks 2007-076
                                Printed name

                                DILKS LAW FIRM
                                Firm name

                                P.O. Box 34157
                                Little Rock, AR 72203
                                Number, Street, City, State & ZIP Code

                                Contact phone     (501)244-9770                              Email address         ldilks@dilkslawfirm.com
                                2007-076 AR
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Benjamin Carlyle
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Lindsay Carlyle
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,441,300.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             159,536.16

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,600,836.16

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,661,420.97

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             210,526.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,566,054.12


                                                                                                                                     Your total liabilities $             4,438,001.09


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              44,500.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              44,457.17

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $     38,064.83


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            210,526.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            419,168.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            629,694.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Benjamin Carlyle
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Lindsay Carlyle
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF ARKANSAS

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1002 Golf Course Drive                                                         Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Searcy                            AR        72143-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $749,900.00                $749,900.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple Subject to Mortgage
        White                                                                          Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                5 bed, 4.5 bath, 6,800 sq ft home located on 1.09 acres in White County,
                                                                                AR




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1        Benjamin Carlyle
 Debtor 2        Lindsay Carlyle                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       110 S. Country Club Road                                               Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the      Current value of the
       Searcy                            AR        72143-0000                 Land                                            entire property?          portion you own?
       City                              State              ZIP Code          Investment property                                    $532,500.00                $532,500.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee Simple Subject to Mortgage
       White                                                                  Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       4 bed, 3.5 bath, 4,499 sq ft rental property house located on 1.17 acres in
                                                                       White County, AR


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       1 Green Oaks Cove                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the      Current value of the
       Maumelle                          AR        72113-0000                 Land                                            entire property?          portion you own?
       City                              State              ZIP Code          Investment property                                    $153,900.00                $153,900.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee Simple Subject to Mortgage
       Pulaski                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       3 bed, 2 bath, 1,590 sq ft rental property house located on a regular city
                                                                       lot in Pulaski County, AR




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 Debtor 2         Lindsay Carlyle                                                                                               Case number (if known)

        If you own or have more than one, list here:
 1.4                                                                         What is the property? Check all that apply
        Falcon Lane                                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the       Current value of the
        Bella Vista                       AR                                          Land                                            entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                      $10,000.00                   $5,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Benton                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             vacant lot


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $1,441,300.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Cadillac                                        Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Escalade                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2017                                               Debtor 2 only
                                                                                                                                       Current value of the      Current value of the
          Approximate mileage:                       32,580                Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another
         Good condition
         Location: 1002 Golf Course                                        Check if this is community property                                 $47,525.00                 $47,525.00
         Drive, Searcy AR 72143                                            (see instructions)




  3.2     Make:         Toyota                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        4 Runner                                           Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2001                                               Debtor 2 only
                                                                                                                                       Current value of the      Current value of the
          Approximate mileage:                     187,000                 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
          Other information:                                               At least one of the debtors and another
         Good condition
         Location: 1002 Golf Course                                        Check if this is community property                                   $3,750.00                  $3,750.00
         Drive, Searcy AR 72143                                            (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                           page 3
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 Debtor 2        Lindsay Carlyle                                                                                    Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Homemade                                  Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Utility Trailer                                 Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Fair condition                                              Check if this is community property                                 $100.00                     $100.00
         Location: 1002 Golf Course                                  (see instructions)

         Drive, Searcy AR 72143

  4.2    Make:       Yamaha                                    Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camo 2X4                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                                 $200.00                     $200.00
         Kids 4 wheeler                                              (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $51,575.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    household goods and furnishings, appliances, furniture, linens,
                                    decorative items, small appliances, etc.
                                    Location: 1002 Golf Course Drive, Searcy AR 72143                                                                             $20,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    2008 Panasonic ~$250
                                    2013 Samsung ~$500
                                    Sony ~$250
                                    iMac home computer $500
                                    Three iPhones, $150
                                    Three iPads, $150.
                                    XBox gaming system $100
                                    Nintendo WiiU $50                                                                                                               $1,850.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 4
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 Debtor 2       Lindsay Carlyle                                                                     Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books, Pictures
                                    Location: 1002 Golf Course Drive, Searcy AR 72143                                                            $1,000.00


                                    Louis Vuitton Luggage
                                    Location: 1002 Golf Course Drive, Searcy AR 72143                                                            $1,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Glock 40 cal
                                    Location: 1002 Golf Course Drive, Searcy AR 72143                                                              $300.00


                                    300 Magnum Rifle and Muzzleloader                                                                              $350.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes, Shoes & Accessories
                                    Location: 1002 Golf Course Drive, Searcy AR 72143                                                            $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    3 set of 3 bands (W)                                                                                         $1,000.00


                                    Wedding Band (H)                                                                                               $800.00


                                    3 ct. loose Diamond (H & W)                                                                                $20,470.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    3 dogs                                                                                                             $0.00


Official Form 106A/B                                                 Schedule A/B: Property                                                           page 5
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 Debtor 2          Lindsay Carlyle                                                                                            Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $48,770.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Simmons Bank Acct #0169                                               $32.25


                                                                                                  Centennial Bank Acct #7083 (negative
                                              17.2.       Checking                                $1,436.70 at time of filing)                                            $0.00


                                                                                                  First Security Bank Acct #7966 (Negative
                                              17.3.       Checking                                $679.42 as of 08/27/19)                                                 $0.00



                                              17.4.       Checking                                Southern Bank Acct #1105                                                $0.00



                                              17.5.       Checking                                Citizens Bank Acct #8068                                            $460.42



                                              17.6.       Checking                                Bancorp South Acct #4411                                              $45.73



                                              17.7.       Savings                                 First Security Bank Acct #6941                                        $25.00



                                              17.8.       Checking                                First Security Bank Acct #1319                                          $0.00



                                              17.9.       Checking                                Chase Acct #7673                                                        $0.00


                                              17.10
                                              .     Checking                                      Chase Acct #7151                                                      $50.00


                                              17.11                                               Citizens Bank Acct #8020
                                              .     Savings                                       (Ben Savings)                                                         $31.62

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 Debtor 2       Lindsay Carlyle                                                                     Case number (if known)


                                      17.12                              Citizens Bank Acct #8012
                                      .     Savings                      (Brock Savings)                                              $49.80


                                      17.13                              Citizens Bank Acct #8004
                                      .     Savings                      (Banks Savings)                                              $38.37


                                      17.14
                                      .     Checking                     Citizens Bank Acct #7215                                     $81.23


                                      17.15                              Merchants and Planters Bank Acct #6586
                                      .     Checking                     (negative $244.77 as of 08/27/19)                              $0.00


                                      17.16
                                      .     Checking                     Merchants and Planters Bank Acct #5825                       $66.23


                                      17.17
                                      .     Checking                     Suntrust Acct #6502                                            $0.00


                                      17.18
                                      .     Credit Union                 Pentagon Federal Credit Union Acct #3023                       $0.00


                                      17.19
                                      .     Credit Union                 Pentagon Federal Credit Union Acct #3013                   $259.15


                                      17.20
                                      .     Checking                     Centennial Bank Acct #4726                                     $1.54


                                      17.21
                                      .     Credit Union                 Arkansas Federal Credit Union Acct #1949                       $0.00


                                      17.22
                                      .     Credit Union                 Arkansas Federal Credit Union Acct #4001                       $0.00


                                      17.23
                                      .     Checking                     Simmons Bank Acct #0298                                        $1.88


                                      17.24
                                      .     Checking                     US Bank Acct #4162                                         $125.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                              Ameritrade Acct #5282                                                               $2,621.75


                                              Ameritrade Acct #1164                                                               $4,713.85


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                    % of ownership:
Official Form 106A/B                                                 Schedule A/B: Property                                            page 7
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                                            Convertible Promissory Note with Sniffle Health
                                            Inc. (note to mature December 13, 2019 with 8%
                                            per annum payable to Debtor)                                              0         %            $50,000.00


                                            Benjamin W. Carlyle, MD, PLLC (debts exceed
                                            assets)                                                                  100        %                    $0.00


                                            The Carlyle's Work 2 Play, LLC (debts exceed
                                            assets)                                                                  100        %                    $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          401(k)                            Ameritrade Acct #0292                                                  $19.83


                                          IRA                               Ameritrade Acct #0896                                                $193.85


                                          IRA                               Ameritrade Acct #8374                                                    $0.00


                                          401(k)                            Ameritrade Acct #3405                                                  $19.70


                                          IRA                               Ameritrade Acct #0824                                                $253.96


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...




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 Debtor 2       Lindsay Carlyle                                                                        Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              Medical License                                                                                       $100.00


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         American General Life Insurance                      Lindsay Carlyle                                           $0.00


                                         Protective Life Insurance                            Lindsay Carlyle                                           $0.00


                                         United of Omaha Life Insurance                       Lindsay Carlyle                                           $0.00


                                         AMA Life Insurance                                   Lindsay Carlyle                                           $0.00


                                         Gerber Life Insurance policies for
                                         children                                             Benjamin Carlyle                                          $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 9
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 Debtor 2         Lindsay Carlyle                                                                                                       Case number (if known)


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $59,191.16


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $1,441,300.00
 56. Part 2: Total vehicles, line 5                                                                           $51,575.00
 57. Part 3: Total personal and household items, line 15                                                      $48,770.00
 58. Part 4: Total financial assets, line 36                                                                  $59,191.16
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $159,536.16               Copy personal property total        $159,536.16

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $1,600,836.16




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 Fill in this information to identify your case:

 Debtor 1                 Benjamin Carlyle
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Lindsay Carlyle
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Falcon Lane Bella Vista, AR Benton                              $5,000.00                                  $5,000.00     11 U.S.C. § 522(d)(5)
      County
      vacant lot                                                                           100% of fair market value, up to
      Line from Schedule A/B: 1.4                                                          any applicable statutory limit

      2001 Toyota 4 Runner 187,000 miles                              $3,750.00                                  $3,750.00     11 U.S.C. § 522(d)(2)
      Good condition
      Location: 1002 Golf Course Drive,                                                    100% of fair market value, up to
      Searcy AR 72143                                                                      any applicable statutory limit
      Line from Schedule A/B: 3.2

      Homemade Utility Trailer                                            $100.00                                  $100.00     11 U.S.C. § 522(d)(5)
      Fair condition
      Location: 1002 Golf Course Drive,                                                    100% of fair market value, up to
      Searcy AR 72143                                                                      any applicable statutory limit
      Line from Schedule A/B: 4.1

      2008 Yamaha Camo 2X4                                                $200.00                                  $200.00     11 U.S.C. § 522(d)(5)
      Kids 4 wheeler
      Line from Schedule A/B: 4.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 5
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              4:19-bk-14623 Doc#: 1 Filed: 08/30/19 Entered: 08/30/19 16:56:28 Page 21 of 998/30/19 4:54PM
 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                             Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     household goods and furnishings,                                $20,000.00                                $20,000.00         11 U.S.C. § 522(d)(3)
     appliances, furniture, linens,
     decorative items, small appliances,                                                   100% of fair market value, up to
     etc.                                                                                  any applicable statutory limit
     Location: 1002 Golf Course Drive,
     Searcy AR 72143
     Line from Schedule A/B: 6.1

     2008 Panasonic ~$250                                             $1,850.00                                  $1,850.00        11 U.S.C. § 522(d)(3)
     2013 Samsung ~$500
     Sony ~$250                                                                            100% of fair market value, up to
     iMac home computer $500                                                               any applicable statutory limit
     Three iPhones, $150
     Three iPads, $150.
     XBox gaming system $100
     Nintendo WiiU $50
     Line from Schedule A/B: 7.1

     Books, Pictures                                                  $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(5)
     Location: 1002 Golf Course Drive,
     Searcy AR 72143                                                                       100% of fair market value, up to
     Line from Schedule A/B: 8.1                                                           any applicable statutory limit

     Louis Vuitton Luggage                                            $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(5)
     Location: 1002 Golf Course Drive,
     Searcy AR 72143                                                                       100% of fair market value, up to
     Line from Schedule A/B: 8.2                                                           any applicable statutory limit

     Glock 40 cal                                                        $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
     Location: 1002 Golf Course Drive,
     Searcy AR 72143                                                                       100% of fair market value, up to
     Line from Schedule A/B: 10.1                                                          any applicable statutory limit

     300 Magnum Rifle and Muzzleloader                                   $350.00                                   $350.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 10.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes, Shoes & Accessories                                     $2,000.00                                  $2,000.00        11 U.S.C. § 522(d)(5)
     Location: 1002 Golf Course Drive,
     Searcy AR 72143                                                                       100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     3 set of 3 bands (W)                                             $1,000.00                                    $625.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 set of 3 bands (W)                                             $1,000.00                                    $375.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Band (H)                                                    $800.00                                   $625.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 5
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                             Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Wedding Band (H)                                                    $800.00                                   $175.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 ct. loose Diamond (H & W)                                     $20,470.00                                  $2,850.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 ct. loose Diamond (H & W)                                     $20,470.00                                $10,270.46         11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 12.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bancorp South Acct #4411                                   $45.73                                    $45.73        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: First Security Bank Acct                                    $25.00                                    $25.00        11 U.S.C. § 522(d)(5)
     #6941
     Line from Schedule A/B: 17.7                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase Acct #7151                                           $50.00                                    $50.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.10
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Citizens Bank Acct #8020                                    $31.62                                    $31.62        11 U.S.C. § 522(d)(5)
     (Ben Savings)
     Line from Schedule A/B: 17.11                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Citizens Bank Acct #8012                                    $49.80                                    $49.80        11 U.S.C. § 522(d)(5)
     (Brock Savings)
     Line from Schedule A/B: 17.12                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Citizens Bank Acct #8004                                    $38.37                                    $38.37        11 U.S.C. § 522(d)(5)
     (Banks Savings)
     Line from Schedule A/B: 17.13                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Centennial Bank Acct                                         $1.54                                     $1.54       11 U.S.C. § 522(d)(5)
     #4726
     Line from Schedule A/B: 17.20                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Simmons Bank Acct #0298                                      $1.88                                     $1.88       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.23
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 5
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                             Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Ameritrade Acct #5282                                            $2,621.75                                  $2,621.75        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 18.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Ameritrade Acct #1164                                            $4,713.85                                  $4,713.85        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 18.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Ameritrade Acct #0292                                        $19.83                                    $19.83        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Ameritrade Acct #0896                                          $193.85                                   $193.85        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Ameritrade Acct #8374                                             $0.00                                     $0.00       11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Ameritrade Acct #3405                                        $19.70                                    $19.70        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Ameritrade Acct #0824                                          $253.96                                   $253.96        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Medical License                                                     $100.00                                   $100.00        11 U.S.C. § 522(d)(6)
     Line from Schedule A/B: 27.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     American General Life Insurance                                        $0.00                                     $0.00       11 U.S.C. § 522(d)(7)
     Beneficiary: Lindsay Carlyle
     Line from Schedule A/B: 31.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Protective Life Insurance                                              $0.00                                     $0.00       11 U.S.C. § 522(d)(7)
     Beneficiary: Lindsay Carlyle
     Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     AMA Life Insurance                                                     $0.00                                     $0.00       11 U.S.C. § 522(d)(7)
     Beneficiary: Lindsay Carlyle
     Line from Schedule A/B: 31.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 5
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                             Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Gerber Life Insurance policies for                                     $0.00                                     $0.00       11 U.S.C. § 522(d)(7)
     children
     Beneficiary: Benjamin Carlyle                                                         100% of fair market value, up to
     Line from Schedule A/B: 31.5                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 5 of 5
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 Fill in this information to identify your case:

 Debtor 1                   Benjamin Carlyle
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Lindsay Carlyle
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BanCorp South                            Describe the property that secures the claim:               $153,787.50               $153,900.00           $86,398.50
         Creditor's Name                          1 Green Oaks Cove Maumelle, AR
                                                  72113 Pulaski County
                                                  3 bed, 2 bath, 1,590 sq ft rental
                                                  property house located on a regular
                                                  city lot in Pulaski County, AR
                                                  As of the date you file, the claim is: Check all that
         2910 W. Jackson St.                      apply.
         Tupelo, MS 38801                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Business Debt/2nd Mortgage
       community debt

 Date debt was incurred          April 2018                Last 4 digits of account number        4749




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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 Debtor 1 Benjamin Carlyle                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Lindsay Carlyle
               First Name                  Middle Name                      Last Name


 2.2     Best Buy Credit Services                   Describe the property that secures the claim:                      $7,553.00         $1,850.00       $5,703.00
         Creditor's Name                            2008 Panasonic ~$250
                                                    2013 Samsung ~$500
                                                    Sony ~$250
                                                    iMac home computer $500
                                                    Three iPhones, $150
                                                    Three iPads, $150.
                                                    XBox gaming system $100
                                                    Nintendo WiiU $50
                                                    As of the date you file, the claim is: Check all that
         P O Box 790441                             apply.
         Saint Louis, MO 63179                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          June 2013                   Last 4 digits of account number         2744

 2.3     Chase Mortgage                             Describe the property that secures the claim:                    $86,511.00        $153,900.00             $0.00
         Creditor's Name                            1 Green Oaks Cove Maumelle, AR
                                                    72113 Pulaski County
                                                    3 bed, 2 bath, 1,590 sq ft rental
                                                    property house located on a regular
         Attn: Bankruptcy Dept                      city lot in Pulaski County, AR
                                                    As of the date you file, the claim is: Check all that
         PO Box 24696                               apply.
         Columbus, OH 43224                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Business Debt/1st Mortgage
       community debt

                                 October
 Date debt was incurred          2005                        Last 4 digits of account number         5788




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 4
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 Debtor 1 Benjamin Carlyle                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Lindsay Carlyle
               First Name                  Middle Name                      Last Name


         Merchants & Planters
 2.4                                                                                                                 $25,399.20             $0.00     $25,399.20
         Bank                                       Describe the property that secures the claim:
         Creditor's Name                            Collateral securing loan is owned
                                                    by Debtor's mother
                                                    As of the date you file, the claim is: Check all that
         851 Batesville Blvd                        apply.
         Batesville, AR 72501                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          July 2013                   Last 4 digits of account number         7629

 2.5     Regions Bank                               Describe the property that secures the claim:                    $77,429.98        $47,525.00     $29,904.98
         Creditor's Name                            2017 Cadillac Escalade 32,580 miles
                                                    Good condition
                                                    Location: 1002 Golf Course Drive,
         Attn: Bankruptcy                           Searcy AR 72143
                                                    As of the date you file, the claim is: Check all that
         Po Box 10063                               apply.
         Birmingham, AL 35202                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
       community debt

                                 December
 Date debt was incurred          2016                        Last 4 digits of account number         6320




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 4
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 Debtor 1 Benjamin Carlyle                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Lindsay Carlyle
               First Name                  Middle Name                      Last Name


 2.6     Simmons Bank                               Describe the property that secures the claim:                   $793,417.29                $749,900.00          $43,517.29
         Creditor's Name                            1002 Golf Course Drive Searcy, AR
                                                    72143 White County
                                                    5 bed, 4.5 bath, 6,800 sq ft home
                                                    located on 1.09 acres in White
         Attn: Bankruptcy                           County, AR
                                                    As of the date you file, the claim is: Check all that
         Po Box 7009                                apply.
         Pine Bluff, AR 71611                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          June 2018                   Last 4 digits of account number         7186

 2.7     Suntrust Bank                              Describe the property that secures the claim:                   $517,323.00                $532,500.00                  $0.00
         Creditor's Name                            110 S. Country Club Road Searcy,
                                                    AR 72143 White County
                                                    4 bed, 3.5 bath, 4,499 sq ft rental
         Attn: Bankruptcy                           property house located on 1.17
         Po Box 85092 Mc                            acres in White County, AR
                                                    As of the date you file, the claim is: Check all that
         Va-Wmrk-7952                               apply.
         Richmond, VA 23286                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Business Debt
       community debt

 Date debt was incurred          March 2018                  Last 4 digits of account number         6825


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,661,420.97
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,661,420.97

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Mitchell Williams
          425 W. Capitol Ave #1800                                                                    Last 4 digits of account number
          Little Rock, AR 72201-3525




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                     Benjamin Carlyle
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Lindsay Carlyle
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          State of Arkansas                                      Last 4 digits of account number                        $30,332.00        $30,332.00                    $0.00
              Priority Creditor's Name
              Dept. of Finance & Admin.                              When was the debt incurred?           2018
              Legal Counsel Room 2380
              P O Box 1272
              Little Rock, AR 72203-1272
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Income Taxes




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                  Case number (if known)

 2.2       State of Arkansas                                         Last 4 digits of account number                       $20,000.00     $20,000.00              $0.00
           Priority Creditor's Name
           Dept. of Finance & Admin.                                 When was the debt incurred?         2019
           Legal Counsel Room 2380
           P O Box 1272
           Little Rock, AR 72203-1272
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Estimated 2019 Income Taxes

                                                                                                                           $100,194.0
 2.3       United States Treasury                                    Last 4 digits of account number                                0    $100,194.00              $0.00
           Priority Creditor's Name
                                                                     When was the debt incurred?         2018
           P.O. Box 7317
           Philadelphia, PA 19101
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           2018 Income Taxes

 2.4       United States Treasury                                    Last 4 digits of account number                       $60,000.00     $60,000.00              $0.00
           Priority Creditor's Name
                                                                     When was the debt incurred?         2019
           P.O. Box 7317
           Philadelphia, PA 19101
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Estimated 2019 Income Taxes


 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.



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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                  Case number (if known)

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        American Education Services                               Last 4 digits of account number         0016                                                      $50,358.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy Dept                                     When was the debt incurred?             August 2007
            Po Box 2461
            Harrisburg, PA 17105
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent

                 Debtor 2 only                                           Unliquidated

                 Debtor 1 and Debtor 2 only                              Disputed
                                                                      Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another
                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify
                                                                                           Student Loans
 4.2        American Education Services                               Last 4 digits of account number         0005                                                      $31,424.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy Dept                                     When was the debt incurred?             August 2006
            Po Box 2461
            Harrisburg, PA 17105
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent

                 Debtor 2 only                                           Unliquidated

                 Debtor 1 and Debtor 2 only                              Disputed
                                                                      Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another
                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify
                                                                                           Student Loans




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.3      American Education Services                                Last 4 digits of account number       0001                                           $20,581.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           November 2005
          Po Box 2461
          Harrisburg, PA 17105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.4      American Education Services                                Last 4 digits of account number       0001                                           $14,042.00
          Nonpriority Creditor's Name
          Pob 61047                                                  When was the debt incurred?           December 2007
          Harrisburg, PA 17106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.5      American Education Services                                Last 4 digits of account number       0010                                             $6,080.00
          Nonpriority Creditor's Name
          Po Box 61047                                               When was the debt incurred?           June 2006
          Harrisburg, PA 17106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.6      American Express                                           Last 4 digits of account number       3873                                             $3,215.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           April 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.7      American Express                                           Last 4 digits of account number       2173                                             $3,215.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           May 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.8      American Express                                           Last 4 digits of account number       2013                                             $2,650.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           May 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.9      American Express                                           Last 4 digits of account number       0633                                             $2,650.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           May 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.1
 0        American Express                                           Last 4 digits of account number       1493                                             $1,935.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           September 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.1
 1        American Express                                           Last 4 digits of account number       5823                                             $1,935.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           May 2015
          Po Box 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.1
 2        Arkansas Federal Credit Union                              Last 4 digits of account number       0824                                           $15,639.82
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           January 2018
          Po Box 9
          Jacksonville, AR 72078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


 4.1
 3        Arkansas Federal Credit Union                              Last 4 digits of account number       0358                                             $8,555.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           April 2015
          Po Box 9
          Jacksonville, AR 72078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.1
 4        Bankers Health Group                                       Last 4 digits of account number       9920                                          $233,438.39
          Nonpriority Creditor's Name
          P O Box 332509                                             When was the debt incurred?           March 2017
          Murfreesboro, TN 37133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.1
 5        Capital One                                                Last 4 digits of account number       2247                                             $4,896.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           June 2013
          Po Box 30285
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.1
 6        Capital One                                                Last 4 digits of account number       4329                                             $3,453.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2015
          Po Box 30285
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.1
 7        Centennial Bank                                            Last 4 digits of account number       5166                                           $49,024.84
          Nonpriority Creditor's Name
          2610 Cantrell Rd                                           When was the debt incurred?           January 2018
          Little Rock, AR 72202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.1
 8        Centennial Bank                                            Last 4 digits of account number       7083                                             $1,436.70
          Nonpriority Creditor's Name
          2610 Cantrell Rd                                           When was the debt incurred?           August 2019
          Little Rock, AR 72202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overdrawn account


 4.1
 9        Chase Card Services                                        Last 4 digits of account number       1017                                           $46,256.92
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           April 2015
          Po Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 0        Chase Card Services                                        Last 4 digits of account number       9336                                           $30,584.61
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           April 2006
          Po Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.2
 1        Citicards Cbna                                             Last 4 digits of account number       2438                                             $4,368.00
          Nonpriority Creditor's Name
          Citi Bank                                                  When was the debt incurred?           April 2015
          Po Box 6077
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 2        Citizens Bank                                              Last 4 digits of account number       9REN                                           $41,775.06
          Nonpriority Creditor's Name
          655 S. St Louis St                                         When was the debt incurred?           February 2017
          Batesville, AR 72501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         2018 Land Rover Range Rover Deficiency
                                                                                         White County Circuit Court Case No.
              Yes                                                       Other. Specify   73CV-19-398


 4.2
 3        Discover Financial                                         Last 4 digits of account number       8863                                             $9,774.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?           May 2015
          Po Box 15316
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.2
 4        EdFinancial Services                                       Last 4 digits of account number       7974                                           $34,406.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           August 2009
          Po Box 36008
          Knoxville, TN 37930
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.2
 5        EdFinancial Services                                       Last 4 digits of account number       7874                                             $8,021.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           August 2009
          Po Box 36008
          Knoxville, TN 37930
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans
 4.2
 6        First Security Bank                                        Last 4 digits of account number       0658                                           $19,723.79
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?           October 2012
          P.O. Box 1009
          Searcy, AR 72145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.2
 7        First Security Bank                                        Last 4 digits of account number       3668                                           $80,145.22
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?           October 2012
          P.O. Box 1009
          Searcy, AR 72145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 8        First Security Bank                                        Last 4 digits of account number       7966                                               $679.42
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?           August 2019
          P.O. Box 1009
          Searcy, AR 72145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overdrawn account


 4.2
 9        Ginger Wagner Carlyle                                      Last 4 digits of account number                                                     $215,000.00
          Nonpriority Creditor's Name
          2906 Ivy Drive                                             When was the debt incurred?           November 2012
          Newport, AR 72112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unsecured loan




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.3
 0        James Cooper Keane                                         Last 4 digits of account number                                                     $147,000.00
          Nonpriority Creditor's Name
          13615 Woodbrook Drive                                      When was the debt incurred?           April 2014
          Little Rock, AR 72211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unsecured loan


 4.3
 1        Merchants & Planters Bank                                  Last 4 digits of account number       6586                                               $244.77
          Nonpriority Creditor's Name
          851 Batesville Blvd                                        When was the debt incurred?           August 2019
          Batesville, AR 72501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   overdrawn account


 4.3
 2        MOHELA                                                     Last 4 digits of account number       0001                                          $254,256.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           April 2018
          633 Spirit Dr
          Chesterfield, MO 63005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loans




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.3
 3        Patricia Sue & Steve M. Shock                              Last 4 digits of account number                                                     $380,000.00
          Nonpriority Creditor's Name
          1163 County Line Road                                      When was the debt incurred?           March 2014
          Vilonia, AR 72173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unsecured loan


 4.3
 4        Pentagon Federal Credit Union                              Last 4 digits of account number       1779                                           $20,140.56
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           June 2018
          Po Box 1432
          Alexandria, VA 22313
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Check Credit Or Line Of Credit


 4.3
 5        Pentagon Federal Credit Union                              Last 4 digits of account number       0709                                           $22,260.02
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           August 2018
          Po Box 1432
          Alexandria, VA 22313
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.3
 6        Pentagon Federal Credit Union                              Last 4 digits of account number       1779                                           $22,738.43
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2015
          2930 Eisenhower Avenue
          Alexandria, VA 22314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 7        Pinnacle Bank                                              Last 4 digits of account number       8941                                             $8,850.00
          Nonpriority Creditor's Name
          114 W College St                                           When was the debt incurred?           May 2015
          Murfreesboro, TN 37130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 8        Pinnacle Bank                                              Last 4 digits of account number       6282                                             $2,000.00
          Nonpriority Creditor's Name
          114 W College St                                           When was the debt incurred?           May 2015
          Murfreesboro, TN 37130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.3
 9        Pinnacle Bank                                              Last 4 digits of account number       2359                                          $201,669.16
          Nonpriority Creditor's Name
          114 W College St                                           When was the debt incurred?           May 2015
          Murfreesboro, TN 37130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan


 4.4
 0        Regions Bank                                               Last 4 digits of account number       8454                                           $50,000.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           June 2018
          Po Box 10063
          Birmingham, AL 35202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.4
 1        Regions Bankcard                                           Last 4 digits of account number       4287                                           $19,684.26
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2015
          Po Box 830590
          Birmingham, AL 35288
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.4
 2        Regions Bankcard                                           Last 4 digits of account number       4173                                           $73,949.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2015
          Po Box 830590
          Birmingham, AL 35288
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 3        Regions Bankcard                                           Last 4 digits of account number       7722                                           $53,092.42
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2015
          Po Box 830590
          Birmingham, AL 35288
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 4        ReGroup                                                    Last 4 digits of account number       unknown                                          Unknown
          Nonpriority Creditor's Name
          4525 N. Ravenswood Ave                                     When was the debt incurred?           2019
          Chicago, IL 60640
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   ongoing medical services




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.4
 5        Rick Angel                                                 Last 4 digits of account number       4775                                           $55,000.00
          Nonpriority Creditor's Name
          1000 Morgan Keegan Dr #420                                 When was the debt incurred?           November 2018
          Little Rock, AR 72202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   ongoing Attorney Fees


 4.4
 6        Simmons Bank                                               Last 4 digits of account number       1504                                           $76,261.13
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           June 2018
          Po Box 7009
          Pine Bluff, AR 71611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 7        Southern Bank                                              Last 4 digits of account number       5655                                           $50,202.19
          Nonpriority Creditor's Name
          2208 E. Race Ave                                           When was the debt incurred?           May 2018
          Searcy, AR 72143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.4
 8        Suntrust                                                   Last 4 digits of account number       0337                                           $95,510.07
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2018
          Mail Code VA-RVW-6290 PO Box
          85092
          Richmond, VA 23286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


 4.4
 9        Suntrust Bank                                              Last 4 digits of account number       5591                                           $15,827.93
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           January 2017
          Mail Code VA-RVW-6290 PO Box
          85092
          Richmond, VA 23286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.5
 0        Suntrust Bank Atlanta                                      Last 4 digits of account number       3903                                           $46,117.41
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           May 2018
          Mail Code VA-RVW-6290 PO Box
          85092
          Richmond, VA 23286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 22
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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)


 4.5
 1        Synchrony Bank/Ashley Furniture                            Last 4 digits of account number       9041                                           $11,489.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           April 2013
          Po Box 965064
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.5
 2        Synchrony Bank/Gap                                         Last 4 digits of account number       3115                                             $8,105.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           April 2018
          Po Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.5
 3        Synchrony Bank/Toys R Us                                   Last 4 digits of account number       3020                                             $1,065.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           November 2014
          Po Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 22
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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 4.5
 4         US Bank/RMS CC                                            Last 4 digits of account number       3405                                                     $4,458.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?           May 2015
           Po Box 5229
           Cincinnati, OH 45201
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.5
 5         US Bank/RMS CC                                            Last 4 digits of account number       0518                                                       $871.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?           May 2015
           Po Box 5229
           Cincinnati, OH 45201
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Buck C. Gibson, P.A.                                          Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 100 North Spring                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Searcy, AR 72143
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David M. Smythe                                               Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Smythe, Huff & Hayden, PC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 1222 16th Avenue South
 Suite 301
 Nashville, TN 37212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gary D. Jiles                                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 904 Front Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Conway, AR 72032
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 21 of 22
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 Debtor 1 Benjamin Carlyle
 Debtor 2 Lindsay Carlyle                                                                                Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gary D. Jiles                                                 Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 904 Front Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Conway, AR 72032
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gary D. Jiles                                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 904 Front Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Conway, AR 72032
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wm. David Duke                                                Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 GILL RAGON OWEN, P.A.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 425 West Capitol Ave, Ste 3800
 Little Rock, AR 72201
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                  210,526.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  210,526.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                  419,168.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,146,886.12

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,566,054.12




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 22 of 22
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 Fill in this information to identify your case:

 Debtor 1                  Benjamin Carlyle
                           First Name                         Middle Name            Last Name

 Debtor 2                  Lindsay Carlyle
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Sniffle Health, Inc.                                                       Convertible Promissory Note with Sniffle Health Inc.
               400 W. Capitol Ave, Ste 1700                                               (note to mature December 13, 2019 with 8% per annum
               Little Rock, AR 72201                                                      payable to Debtor)

     2.2       White County Physicians Group                                              Assume Independent Contractor Agreement
               3214 East Race Avenue
               Searcy, AR 72143




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Benjamin Carlyle
                            First Name                           Middle Name       Last Name

 Debtor 2                   Lindsay Carlyle
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:


    3.1         Benjamin W. Carlyle, MD, PLLC                                                         Schedule D, line
                1002 Golf Course Drive                                                                Schedule E/F, line   4.22
                Searcy, AR 72143
                                                                                                      Schedule G
                                                                                                   Citizens Bank



    3.2         Benjamin W. Carlyle, MD, PLLC                                                        Schedule D, line
                1002 Golf Course Drive                                                               Schedule E/F, line   2.3
                Searcy, AR 72143
                                                                                                     Schedule G
                                                                                                   United States Treasury



    3.3         Benjamin W. Carlyle, MD, PLLC                                                        Schedule D, line
                1002 Golf Course Drive                                                               Schedule E/F, line 4.14
                Searcy, AR 72143
                                                                                                     Schedule G
                                                                                                   Bankers Health Group




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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              Benjamin Carlyle
 Debtor 1 Lindsay Carlyle                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line   2.1
             1002 Golf Course Drive                                                        Schedule E/F, line
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         BanCorp South



    3.5      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line    4.40
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Regions Bank



    3.6      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line    4.17
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Centennial Bank



    3.7      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line   2.6
             1002 Golf Course Drive                                                        Schedule E/F, line
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Simmons Bank



    3.8      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line    4.47
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Southern Bank



    3.9      Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line   2.5
             1002 Golf Course Drive                                                        Schedule E/F, line
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Regions Bank



    3.10     Benjamin W. Carlyle, MD, PLLC                                                  Schedule D, line
             1002 Golf Course Drive                                                         Schedule E/F, line   4.26
             Searcy, AR 72143
                                                                                            Schedule G
                                                                                         First Security Bank



    3.11     Benjamin W. Carlyle, MD, PLLC                                                  Schedule D, line
             1002 Golf Course Drive                                                         Schedule E/F, line   4.27
             Searcy, AR 72143
                                                                                            Schedule G
                                                                                         First Security Bank




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 3
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              Benjamin Carlyle
 Debtor 1 Lindsay Carlyle                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line    4.46
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Simmons Bank



    3.13     Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line   2.4
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         United States Treasury



    3.14     Benjamin W. Carlyle, MD, PLLC                                                  Schedule D, line
             1002 Golf Course Drive                                                         Schedule E/F, line   4.39
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Pinnacle Bank



    3.15     Benjamin W. Carlyle, MD, PLLC                                                 Schedule D, line
             1002 Golf Course Drive                                                        Schedule E/F, line    4.18
             Searcy, AR 72143
                                                                                           Schedule G
                                                                                         Centennial Bank



    3.16     Benjamin W. Carlyle, MD, PLLC                                                  Schedule D, line
             1002 Golf Course Drive                                                         Schedule E/F, line   4.28
             Searcy, AR 72143
                                                                                            Schedule G
                                                                                         First Security Bank



    3.17     Ginger Wagner Carlyle                                                         Schedule D, line   2.4
             2906 Ivy Drive                                                                Schedule E/F, line
             Newport, AR 72112
                                                                                           Schedule G
                                                                                         Merchants & Planters Bank




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 3 of 3
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Fill in this information to identify your case:

Debtor 1                      Benjamin Carlyle

Debtor 2                      Lindsay Carlyle
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF ARKANSAS

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Physician
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Unity Health/White County Med

       Occupation may include student        Employer's address
                                                                   P O Box 1
       or homemaker, if it applies.
                                                                   Searcy, AR 72145

                                             How long employed there?         4 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       44,500.00      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     44,500.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Benjamin Carlyle
Debtor 2   Lindsay Carlyle                                                                       Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $      44,500.00        $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          44,500.00        $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              44,500.00 + $            0.00 = $          44,500.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $          44,500.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Benjamin Carlyle                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                 Lindsay Carlyle                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF ARKANSAS                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  4                    Yes
                                                                                                                                             No
                                                                                   Son                                  8                    Yes
                                                                                                                                             No
                                                                                   Son                                  13                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             4,987.24

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            800.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                        6a.   $                  850.00
      6b. Water, sewer, garbage collection                                                      6b.   $                  168.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                        6c.   $                  680.00
      6d. Other. Specify:                                                                       6d.   $                    0.00
7.    Food and housekeeping supplies                                                             7.   $                3,000.00
8.    Childcare and children’s education costs                                                   8.   $                2,327.28
9.    Clothing, laundry, and dry cleaning                                                        9.   $                  500.00
10.   Personal care products and services                                                       10.   $                  500.00
11.   Medical and dental expenses                                                               11.   $                3,596.04
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                              12. $                    600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                        13. $                    500.00
14.   Charitable contributions and religious donations                                          14. $                  4,500.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                      15a.   $                4,142.06
      15b. Health insurance                                                                    15b.   $                    0.00
      15c. Vehicle insurance                                                                   15c.   $                  200.00
      15d. Other insurance. Specify: Umbrella/Jewelry                                          15d.   $                   90.00
            Disability Insurance                                                                      $                  229.18
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Estimated Income taxes going forward                                               16. $                  8,000.00
    Specify: Personal Property Taxes                                                                $                    109.00
17. Installment or lease payments:
    17a. Car payments for Vehicle 1                                                            17a.   $                1,901.73
    17b. Car payments for Vehicle 2                                                            17b.   $                    0.00
    17c. Other. Specify: Best Buy                                                              17c.   $                   76.00
    17d. Other. Specify: Merchants & Planters (Debtor's Mom is co-signer)                      17d.   $                  225.00
            2018 Taxes owed (estimated monthly payments)                                              $                  525.00
            Attorney for medical license issues                                                       $                  750.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                           0.00
19. Other payments you make to support others who do not live with you.                         $                          0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                            0.00
    20b. Real estate taxes                                                               20b. $                            0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                            0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                            0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                            0.00
21. Other: Specify:   Birthday and Holiday gifts                                           21. +$                        400.00
    Student Loans                                                                              +$                      3,242.00
    Medical License Costs                                                                      +$                      1,228.64
    Pet food/vet expenses                                                                      +$                         90.00
    Storage Units                                                                              +$                        240.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                          $         44,457.17
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                     $         44,457.17
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                 44,500.00
    23b. Copy your monthly expenses from line 22c above.                                       23b. -$                44,457.17

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                              23c. $                    42.83




Official Form 106J                                           Schedule J: Your Expenses                                            page 2
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Debtor 1    Benjamin Carlyle
Debtor 2    Lindsay Carlyle                                                                           Case number (if known)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
        No.
        Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 3
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 Fill in this information to identify your case:

 Debtor 1                    Benjamin Carlyle
                             First Name                     Middle Name             Last Name

 Debtor 2                    Lindsay Carlyle
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Benjamin Carlyle                                                      X   /s/ Lindsay Carlyle
              Benjamin Carlyle                                                          Lindsay Carlyle
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       August 30, 2019                                                Date    August 30, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Benjamin Carlyle
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Lindsay Carlyle
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        110 South Country Club Rd                                From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Searcy, AR 72143                                         June 2015- June                                                                 From-To:
                                                                 2018


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                      $253,968.00            Wages, commissions,                          $0.00
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                      $609,960.00            Wages, commissions,                      $0.00
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                      $108,700.00            Wages, commissions,            $125,500.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                      $596,373.00            Wages, commissions,                      $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until IRA Distribution                                          $38,000.00         IRA Distribution                     $38,000.00
 the date you filed for bankruptcy:


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe



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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Simmons Bank                                              May 1, 2019                  $13,944.00          $793,417.29         Mortgage
       Attn: Bankruptcy                                          June 1, 2019                                                         Car
       Po Box 7009                                               July 1, 2019
                                                                                                                                      Credit Card
       Pine Bluff, AR 71611
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Regions Bank                                              June & July 2019               $5,700.00          $77,429.98         Mortgage
       Attn: Bankruptcy                                                                                                               Car
       Po Box 10063
                                                                                                                                      Credit Card
       Birmingham, AL 35202
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Chase Card Services                                       May & June 2019                $2,500.00          $30,584.61         Mortgage
       Attn: Bankruptcy                                                                                                               Car
       Po Box 15298
                                                                                                                                      Credit Card
       Wilmington, DE 19850
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       James Cooper Keane                                        June 29, 2019                  $2,650.00         $147,000.00         Mortgage
       13615 Woodbrook Drive                                     August 8, 2019                                                       Car
       Little Rock, AR 72211                                                                                                          Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Ginger Wagner Carlyle                                     July                         $10,098.40          $215,000.00       payments on loan
       2906 Ivy Drive                                            2018-February
       Newport, AR 72112                                         2019

       Ginger Wagner Carlyle                                     July 2019                      $5,000.00                 $0.00     reimburse Atorney Fee
       2906 Ivy Drive                                                                                                               Retainer
       Newport, AR 72112


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

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 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name
       Merchants & Planters Bank                                 August                         $2,679.24          $25,399.20        payments to Merchants &
       851 Batesville Blvd                                       2018-August 2019                                                    Planters bank made due to
       Batesville, AR 72501                                                                                                          collateral securing loan is
                                                                                                                                     owned by Debtor's Mother


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       First Security Bank v. Benjamin W.                        Debt Collection            White County Circuit Court                  Pending
       Carlyle, MD, PLLC et al                                                              300 N. Spruce Street                        On appeal
       73CV-19-259                                                                          Searcy, AR 72143
                                                                                                                                        Concluded

                                                                                                                                     Writ of Garnishment

       Bancorpsouth Bank v. Benjamin                             Mortgage                   Pulaski County Circuit                      Pending
       W. Carlyle, MD, PLLC, et al                               Foreclosure                Court                                       On appeal
       60CV-19-4576                                                                         401 W Markham St.
                                                                                                                                        Concluded
                                                                                            Little Rock, AR 72201

       The Citizens Bank v. Benjamin                             Debt Collection            White County Circuit Court                  Pending
       Wagner Carlyle, MD                                                                   300 North Spruce                            On appeal
       73CV-19-398                                                                          Searcy, AR 72143
                                                                                                                                        Concluded


       Southern Bank v. Benjamin W.                              Debt Collection            White County Circuit Court                  Pending
       Carlyle, MD, PLLC et al                                                              300 N. Spruce St                            On appeal
       73CV-19-483                                                                          Searcy, AR 72143
                                                                                                                                        Concluded


       Pinnacle Bank v. Benjamin W.                              Debt Collection            State of Tennessee 20th                     Pending
       Carlyle, MD, PLLC, et al                                                             Judicial                                    On appeal
       19-826-III                                                                           District Chancery Court
                                                                                                                                        Concluded
                                                                                            1 Public Square, Ste 308
                                                                                            Nashville, TN 37201


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




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 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


       Creditor Name and Address                                 Describe the Property                                        Date                 Value of the
                                                                                                                                                      property
                                                                 Explain what happened
       Citizens Bank                                             2018 Land Rover Range Rover 8,000 miles                      May 17, 2019         $83,104.00
       655 S. St Louis St                                        Good condition
       Batesville, AR 72501                                      Location: 1002 Golf Course Drive, Searcy
                                                                 AR 72143

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       First Security Bank                                       Cash from checking account                                   August 19,           $74,636.54
       P.O. Box 1009                                                                                                          2019
       Searcy, AR 72145                                              Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was           Amount
                                                                                                                              taken
       Southern Bank                                             Offset against Certificate of Deposit                        July 2019            $50,439.83
       2208 E. Race Ave                                          Last 4 digits of account number: 5655
       Searcy, AR 72143

       Citizens Bank                                             Offset against certificate of deposit                        April 2019           $50,000.00
       655 S. St Louis St                                        Last 4 digits of account number:
       Batesville, AR 72501


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave               Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                    Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
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 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Harding Academy                                               40 pairs of rain boots                                   September                $1,200.00
       P O Box 10775                                                                                                          2017
       Searcy, AR 72149

       Downtown Church of Christ                                     Cash                                                     2018                   $25,500.00
       900 N. Main Street
       Searcy, AR 72143

       Downtown Church of Christ                                     Cash                                                     2017                   $61,775.00
       900 N. Main Street
       Searcy, AR 72143

       Harding University                                            Cash                                                     2017                     $3,837.00
       915 E. Market Ave
       Searcy, AR 72149

       Razorback Foundation                                          Cash                                                     2017                     $3,059.00
       1295 S. Razorback Rd #A
       Fayetteville, AR 72701

       Unity Health Foundation                                       Cash                                                     2017                     $1,000.00
       3214 E. Race Ave
       Searcy, AR 72143


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Dilks Law Firm                                                $93.00 Credit Report, Credit                             May 2019                 $5,000.00
       P.O. Box 34157                                                Counseling & Debtor Education
       Little Rock, AR 72203-3000                                    Courses
       www.dilkslawfirm.com                                          $335.00 Filing Fee
       Ginger Carlyle                                                $4,572.00 Attorney fees

       Dilks Law Firm                                                Attorney fee retainer                                    August 2019            $25,000.00
       P.O. Box 34157
       Little Rock, AR 72203-3000

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Regions Bank                                              XXXX-2234                    Checking                  May 6, 2019                    $-1,231.48
       PO Box 10063                                                                           Savings
       Birmingham, AL 35202
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Regions Bank                                              XXXX-9901                    Checking                  June 11, 2019                  $-2,267.25
       PO Box 10063                                                                           Savings
       Birmingham, AL 35202
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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 Debtor 2      Lindsay Carlyle                                                                                  Case number (if known)


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Storage Spot of Maumelle                                      Debtors only                               Family heirlooms, keepsakes          No
       98 Commercial Park Court                                                                                 from the boys as kids, school        Yes
       Maumelle, AR 72113                                                                                       work, church work, baby
                                                                                                                clothes. Lots of empty boxes

       Central Storage of Searcy                                     Debtors only                               kids outside play toys like old      No
       816 South Remington Street                                                                               bicycles, old karate gear, etc.      Yes
       Searcy, AR 72143


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you      Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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 Debtor 2      Lindsay Carlyle                                                                                  Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Benjamin W. Carlyle, MD, PLLC                             Medical Provider                                    EIN:       XX-XXXXXXX
       623 Miller Cove
       Benton, AR 72015                                          Ben Rugg, CPA                                       From-To    May 2015- current

       The Carlyles Work 2 Play, LLC                             Rental Property                                     EIN:       XX-XXXXXXX
       623 Miller Cove
       Benton, AR 72019                                          Ben Rugg, CPA                                       From-To    May 2015-


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Regions Bank                                              June 2018
       Attn: Bankruptcy
       Po Box 10063
       Birmingham, AL 35202

       Suntrust Bank                                             Possibly 2018
       Attn: Bankruptcy
       Po Box 85092 Mc Va-Wmrk-7952
       Richmond, VA 23286



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)


       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Simmons Bank                                              Possibly 2018
       Attn: Bankruptcy
       Po Box 7009
       Pine Bluff, AR 71611

       Merchants & Planters Bank                                 Possibly 2018
       851 Batesville Blvd
       Batesville, AR 72501

       BanCorp South                                             Possibly 2018
       2910 W. Jackson St.
       Tupelo, MS 38801

       Arkansas Federal Credit Union                             Possibly 2018
       Attn: Bankruptcy
       Po Box 9
       Jacksonville, AR 72078

       Pentagon Federal Credit Union                             Possibly 2018
       Attn: Bankruptcy
       Po Box 1432
       Alexandria, VA 22313




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 10
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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                             Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Benjamin Carlyle                                                    /s/ Lindsay Carlyle
 Benjamin Carlyle                                                        Lindsay Carlyle
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     August 30, 2019                                                Date     August 30, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 11
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 Fill in this information to identify your case:

 Debtor 1                  Benjamin Carlyle
                           First Name                       Middle Name              Last Name

 Debtor 2                  Lindsay Carlyle
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF ARKANSAS

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         BanCorp South                                        Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1 Green Oaks Cove Maumelle,                       Reaffirmation Agreement.
    property              AR 72113 Pulaski County                           Retain the property and [explain]:
    securing debt:        3 bed, 2 bath, 1,590 sq ft rental
                          property house located on a
                          regular city lot in Pulaski
                          County, AR


    Creditor's         Best Buy Credit Services                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 2008 Panasonic ~$250                                     Reaffirmation Agreement.
    property       2013 Samsung ~$500                                       Retain the property and [explain]:
    securing debt: Sony ~$250
                   iMac home computer $500
                   Three iPhones, $150
                   Three iPads, $150.
                   XBox gaming system $100
                   Nintendo WiiU $50


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                        Case number (if known)



    Creditor's     Chase Mortgage                                           Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of      1 Green Oaks Cove Maumelle,                         Reaffirmation Agreement.
    property            AR 72113 Pulaski County                             Retain the property and [explain]:
    securing debt:      3 bed, 2 bath, 1,590 sq ft rental
                        property house located on a
                        regular city lot in Pulaski
                        County, AR


    Creditor's     Merchants & Planters Bank                                Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of      Collateral securing loan is                         Reaffirmation Agreement.
    property            owned by Debtor's mother                            Retain the property and [explain]:
    securing debt:



    Creditor's     Regions Bank                                             Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of 2017 Cadillac Escalade 32,580                            Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: Good condition
                   Location: 1002 Golf Course
                   Drive, Searcy AR 72143


    Creditor's     Simmons Bank                                             Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of 1002 Golf Course Drive Searcy,                           Reaffirmation Agreement.
    property       AR 72143 White County                                    Retain the property and [explain]:
    securing debt: 5 bed, 4.5 bath, 6,800 sq ft home
                   located on 1.09 acres in White
                   County, AR


    Creditor's     Suntrust Bank                                            Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of      110 S. Country Club Road                            Reaffirmation Agreement.
    property            Searcy, AR 72143 White County                       Retain the property and [explain]:
    securing debt:      4 bed, 3.5 bath, 4,499 sq ft
                        rental property house located
                        on 1.17 acres in White County,
                        AR

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                       Case number (if known)



 Lessor's name:               Sniffle Health, Inc.                                                                            No

                                                                                                                              Yes

 Description of leased        Convertible Promissory Note with Sniffle Health Inc. (note to mature
 Property:                    December 13, 2019 with 8% per annum payable to Debtor)

 Lessor's name:               White County Physicians Group                                                                   No

                                                                                                                              Yes

 Description of leased        Assume Independent Contractor Agreement
 Property:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 3

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 Debtor 1      Benjamin Carlyle
 Debtor 2      Lindsay Carlyle                                                                       Case number (if known)




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Benjamin Carlyle                                                         X /s/ Lindsay Carlyle
       Benjamin Carlyle                                                                Lindsay Carlyle
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        August 30, 2019                                                  Date    August 30, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                     page 4

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Benjamin Carlyle
 Debtor 2              Lindsay Carlyle                                                                     1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Eastern District of Arkansas
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                        38,064.83        $              0.00
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                           $     0.00
        Ordinary and necessary operating expenses                       -$     0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                      0.00      $              0.00
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                           $     0.00
        Ordinary and necessary operating expenses                       -$     0.00
        Net monthly income from rental or other real property           $      0.00 Copy here -> $                      0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                            Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                  0.00      $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                         $                  0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                       $                  0.00      $            0.00
                                                                                                     $                  0.00      $            0.00
                  Total amounts from separate pages, if any.                                     +   $                  0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $    38,064.83           +   $           0.00     =   $     38,064.83

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>             $         38,064.83

              Multiply by 12 (the number of months in a year)                                                                                          x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $         456,777.96

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 AR

       Fill in the number of people in your household.                        5
       Fill in the median family income for your state and size of household.                                                            13.   $         77,341.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Benjamin Carlyle                                                   X /s/ Lindsay Carlyle
                Benjamin Carlyle                                                           Lindsay Carlyle
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date August 30, 2019                                                       Date August 30, 2019
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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 Fill in this information to identify your case:                                                                Check the appropriate box as directed in
                                                                                                                lines 40 or 42:
 Debtor 1            Benjamin Carlyle
                                                                                                                    According to the calculations required by this
 Debtor 2           Lindsay Carlyle                                                                                 Statement:
 (Spouse, if filing)
                                                                                                                       1. There is no presumption of abuse.
 United States Bankruptcy Court for the:            Eastern District of Arkansas
                                                                                                                       2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                    Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                               04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Determine Your Adjusted Income

 1.    Copy your total current monthly income.                              Copy line 11 from Official Form 122A-1 here=>........       $            38,064.83

 2.    Did you fill out Column B in Part 1 of Form 122A-1?
           No. Fill in $0 for the total on line 3.
           Yes. Is your spouse Filing with you?
              No.         Go to line 3.
              Yes.        Fill in $0 for the total on line 3.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
       expenses of you or your dependents?


           No. Fill in 0 for the total on line 3.
           Yes. Fill in the information below:

               State each purpose for which the income was used                                   Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to                are subtracting from
               support other than you or your dependents.                                         your spouse's income

                                                                                              $

                                                                                              $

                                                                                              $

                     Total.                                                                   $              0.00

                                                                                                                     Copy total here=>...    -$              0.00


 4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                     $      38,064.83




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                     page 1
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 Debtor 1         Benjamin Carlyle
 Debtor 2         Lindsay Carlyle                                                                   Case number (if known)



 Part 2:           Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
    your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from                            5
            the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                       $          2,206.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person              $        55.00

            7b. Number of people who are under 65                           X         5

            7c. Subtotal. Multiply line 7a by line 7b.                      $       275.00          Copy here=>        $           275.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $       114.00

            7e. Number of people who are 65 or older                        X         0

            7f.    Subtotal. Multiply line 7d by line 7e.                   $         0.00          Copy here=>       +$              0.00


            7g. Total. Add line 7c and line 7f                                               $     275.00                    Copy total here=> $      275.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                     page 2
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                             Case number (if known)


    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                         653.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses...................................                       $           866.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.

                 Name of the creditor                                               Average monthly
                                                                                    payment

                 Simmons Bank                                                       $          4,987.24


                                                                                                                                                      Repeat this
                                                                                                           Copy                                       amount on
                                         Total average monthly payment              $          4,987.24    here=>        -$               4,987.24    line 33a.


            9c. Net mortgage or rent expense.

                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                     Copy
                 or rent expense). If this amount is less than $0, enter $0. ........................         $                    0.00      here=>    $               0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                    $                0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                           $             420.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                               page 3
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                                     Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


     Vehicle 1         Describe Vehicle 1: 2017 Cadillac Escalade 32,580 miles Good condition
                                                  Location: 1002 Golf Course Drive, Searcy AR 72143

    13a. Ownership or leasing costs using IRS Local Standard..........................................                  $             508.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment

                 Regions Bank                                                       $          1,565.08

                                                                                                                                                       Repeat this
                                                                                                                   Copy                                amount on
                                         Total Average Monthly Payment              $          1,565.08            here =>       -$        1,565.08    line 33b.




    13c. Net Vehicle 1 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                   Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                             expense
                                                                                                                        $               0.00       here => $                   0.00



     Vehicle 2         Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard...................................................         $               0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                 -NONE-                                                             $

                                                                                                                   Copy                             Repeat this
                                                                                                                   here                             amount on
                                         Total Average Monthly Payment              $                0.00                                   0.00    line 33c.
                                                                                                                   =>       -$


    13f. Net Vehicle 2 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                   Vehicle 2
            Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                      expense
                                                                                                                        $               0.00       here => $                   0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                                                 $                0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                 $                0.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                       page 4
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                       Case number (if known)




    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                             $       8,000.00

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $             0.00

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
        insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                            $       4,077.98

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $             0.00

    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.      $       1,228.64

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                    $             0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                   $       3,321.04

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$         150.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                               $    20,331.66
        Add lines 6 through 23.




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                               page 5
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                         Case number (if known)



    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                $         0.00
            Disability insurance                                            $       229.18
            Health savings account                                        +$          0.00


            Total                                                           $        229.18       Copy total here=>                $          229.18


            Do you actually spend this total amount?

                    No. How much do you actually spend?
                    Yes                                                     $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                        $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                  $             0.00
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                             $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.    $       2,327.28
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                           $           74.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          +$       4,500.00


    32. Add all of the additional expense deductions.                                                                              $     7,130.46
        Add lines 25 through 31.




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                          page 6
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                                   Case number (if known)



    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.

             Mortgages on your home:                                                                                                                 Average monthly
                                                                                                                                                     payment
    33a.     Copy line 9b here                                                                                                                =>     $        4,987.24
             Loans on your first two vehicles:
    33b.     Copy line 13b here                                                                                                               =>     $        1,565.08
    33c.     Copy line 13e here                                                                                                               =>     $              0.00
    33d.     List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                  Does payment
                                                                                                                              include taxes or
                                                                                                                              insurance?

                                                                     2008 Panasonic ~$250
                                                                     2013 Samsung ~$500
                                                                     Sony ~$250
                                                                     iMac home computer $500
                                                                     Three iPhones, $150
                                                                     Three iPads, $150.                                                 No
                                                                     XBox gaming system $100
            Best Buy Credit Services                                 Nintendo WiiU $50                                                  Yes          $           147.78

                                                                     Collateral securing loan is owned by                               No
            Merchants & Planters Bank                                Debtor's mother                                                    Yes          $           223.27

                                                                                                                                        No
                                                                                                                                        Yes        +$


                                                                                                                                                 Copy
                                                                                                                                                 total
    33e. Total average monthly payment. Add lines 33a through 33d                                                  $           6,923.37          here=>   $     6,923.37

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
             No.     Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments
                  listed in line 33, to keep possession of your property (called the cure amount).
                  Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                       Total cure                     Monthly cure
                                                                                                                           amount                         amount

                                                             2017 Cadillac Escalade 32,580 miles
                                                             Good condition
                                                             Location: 1002 Golf Course Drive,
     Regions Bank                                            Searcy AR 72143                                           $       1,565.08 ÷ 60 = $                  26.08
                                                             1002 Golf Course Drive Searcy, AR
                                                             72143 White County
                                                             5 bed, 4.5 bath, 6,800 sq ft home
                                                             located on 1.09 acres in White County,
     Simmons Bank                                            AR                                                        $       4,987.24 ÷ 60 = $                  83.12
                                                                                                                       $                      ÷ 60 = +$




Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                             page 7
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                        Case number (if known)



                                                                                                                                Copy
                                                                                                                                total
                                                                                                 Total $               109.20   here=>   $         109.20


    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

             No.     Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                      $        210,526.00 ÷ 60 = $             3,508.76




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                               page 8
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                              Case number (if known)



    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

              No. Go to line 37.
              Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                        $
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).                                                               X


                     To find a list of district multipliers that includes your district, go online using
                     the link specified in the separate instructions for this form. This list may also
                     be available at the bankruptcy clerk’s office.
                                                                                                                                              Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                     $                         here=> $




    37. Add all of the deductions for debt payment.                                                                                                            $   10,541.33
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                      $           20,331.66
            Copy line 32, All of the additional expense deductions                  $            7,130.46
            Copy line 37, All of the deductions for debt payment                   +$           10,541.33


                                                                Total deductions    $           38,003.45               Copy total here...........=>       $         38,003.45


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                       $           38,064.83
            39b. Copy line 38,Total deductions                                     -$           38,003.45

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                      Copy
                 Subtract line 39b from line 39a                                    $                61.38              here=>$                        61.38


            For the next 60 months (5 years)                                                                                           x 60

                                                                                                                                     Copy
            39d. Total. Multiply line 39c by 60                                         39d.    $                  3,682.80          here=>            $            3,682.80


    40. Find out whether there is a presumption of abuse. Check the box that applies:

              The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

              The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
              Part 4 if you claim special circumstances. Go to Part 5.

              The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

        *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                     page 9
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 Debtor 1     Benjamin Carlyle
 Debtor 2     Lindsay Carlyle                                                                                                    Case number (if known)




    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                              x    .25
                                                                                                                                                                 Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                      here=>   $
                     Multiply line 41a by 0.25.....................................................................................

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

              Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

              Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
              presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


            No. Go to Part 5.

            Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                 item. You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                 or income adjustment

                  Older car expense                                                                                                   $                    400.00

                  Student Loan Payments                                                                                               $                   3,242.00

                  Attorney for Medical License                                                                                        $                    750.00

                                                                                                                                      $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Benjamin Carlyle                                                                         X /s/ Lindsay Carlyle
                 Benjamin Carlyle                                                                                Lindsay Carlyle
                 Signature of Debtor 1                                                                           Signature of Debtor 2
          Date August 30, 2019                                                                          Date August 30, 2019
               MM / DD / YYYY                                                                                MM / DD / YYYY




Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                                      page 10
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 Debtor 1    Benjamin Carlyle
 Debtor 2    Lindsay Carlyle                                                                        Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 02/01/2019 to 07/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Unity Health White Co Med Cntr
Income by Month:
 6 Months Ago:                                    02/2019                       $0.00
 5 Months Ago:                                    03/2019                  $22,322.00
 4 Months Ago:                                    04/2019                  $21,093.00
 3 Months Ago:                                    05/2019                  $16,232.00
 2 Months Ago:                                    06/2019                  $20,930.00
 Last Month:                                      07/2019                 $147,812.00
                                 Average per month:                        $38,064.83




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                               page 11
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Arkansas
             Benjamin Carlyle
 In re       Lindsay Carlyle                                                                                  Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 30,000.00
             Prior to the filing of this statement I have received                                        $                 30,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; Preparation
                 and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any relief from stay actions, dischargeability actions, or any other adversary
               proceeding and any and all other legal services not specifically stated in the agreement between the debtors and
               their attorney.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 30, 2019                                                             /s/ Lyndsey D. Dilks
     Date                                                                        Lyndsey D. Dilks 2007-076
                                                                                 Signature of Attorney
                                                                                 DILKS LAW FIRM
                                                                                 P.O. Box 34157
                                                                                 Little Rock, AR 72203
                                                                                 (501)244-9770 Fax: (888)689-7626
                                                                                 ldilks@dilkslawfirm.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Arkansas
            Benjamin Carlyle
 In re      Lindsay Carlyle                                                                         Case No.
                                                                                  Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: August 30, 2019                                                 /s/ Benjamin Carlyle
                                                                       Benjamin Carlyle
                                                                       Signature of Debtor

 Date: August 30, 2019                                                 /s/ Lindsay Carlyle
                                                                       Lindsay Carlyle
                                                                       Signature of Debtor




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                        American Education Services
                        Attn: Bankruptcy Dept
                        Po Box 2461
                        Harrisburg, PA 17105


                        American Education Services
                        Pob 61047
                        Harrisburg, PA 17106


                        American Education Services
                        Po Box 61047
                        Harrisburg, PA 17106


                        American Express
                        Correspondence/Bankruptcy
                        Po Box 981540
                        El Paso, TX 79998


                        Arkansas Federal Credit Union
                        Attn: Bankruptcy
                        Po Box 9
                        Jacksonville, AR 72078


                        BanCorp South
                        2910 W. Jackson St.
                        Tupelo, MS 38801


                        Bankers Health Group
                        P O Box 332509
                        Murfreesboro, TN 37133


                        Best Buy Credit Services
                        P O Box 790441
                        Saint Louis, MO 63179


                        Buck C. Gibson, P.A.
                        100 North Spring
                        Searcy, AR 72143


                        Capital One
                        Attn: Bankruptcy
                        Po Box 30285
                        Salt Lake City, UT 84130
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                    Centennial Bank
                    2610 Cantrell Rd
                    Little Rock, AR 72202


                    Chase Card Services
                    Attn: Bankruptcy
                    Po Box 15298
                    Wilmington, DE 19850


                    Chase Mortgage
                    Attn: Bankruptcy Dept
                    PO Box 24696
                    Columbus, OH 43224


                    Citicards Cbna
                    Citi Bank
                    Po Box 6077
                    Sioux Falls, SD 57117


                    Citizens Bank
                    655 S. St Louis St
                    Batesville, AR 72501


                    David M. Smythe
                    Smythe, Huff & Hayden, PC
                    1222 16th Avenue South
                    Suite 301
                    Nashville, TN 37212


                    Discover Financial
                    Attn: Bankruptcy Department
                    Po Box 15316
                    Wilmington, DE 19850


                    EdFinancial Services
                    Attn: Bankruptcy
                    Po Box 36008
                    Knoxville, TN 37930


                    First Security Bank
                    Attn: Bankruptcy Dept.
                    P.O. Box 1009
                    Searcy, AR 72145
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                    Gary D. Jiles
                    904 Front Street
                    Conway, AR 72032


                    Ginger Wagner Carlyle
                    2906 Ivy Drive
                    Newport, AR 72112


                    James Cooper Keane
                    13615 Woodbrook Drive
                    Little Rock, AR 72211


                    Merchants & Planters Bank
                    851 Batesville Blvd
                    Batesville, AR 72501


                    Mitchell Williams
                    425 W. Capitol Ave #1800
                    Little Rock, AR 72201-3525


                    MOHELA
                    Attn: Bankruptcy
                    633 Spirit Dr
                    Chesterfield, MO 63005


                    Patricia Sue & Steve M. Shock
                    1163 County Line Road
                    Vilonia, AR 72173


                    Pentagon Federal Credit Union
                    Attn: Bankruptcy
                    Po Box 1432
                    Alexandria, VA 22313


                    Pentagon Federal Credit Union
                    Attn: Bankruptcy
                    2930 Eisenhower Avenue
                    Alexandria, VA 22314


                    Pinnacle Bank
                    114 W College St
                    Murfreesboro, TN 37130
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                    Regions Bank
                    Attn: Bankruptcy
                    Po Box 10063
                    Birmingham, AL 35202


                    Regions Bankcard
                    Attn: Bankruptcy
                    Po Box 830590
                    Birmingham, AL 35288


                    ReGroup
                    4525 N. Ravenswood Ave
                    Chicago, IL 60640


                    Rick Angel
                    1000 Morgan Keegan Dr #420
                    Little Rock, AR 72202


                    Simmons Bank
                    Attn: Bankruptcy
                    Po Box 7009
                    Pine Bluff, AR 71611


                    Sniffle Health, Inc.
                    400 W. Capitol Ave, Ste 1700
                    Little Rock, AR 72201


                    Southern Bank
                    2208 E. Race Ave
                    Searcy, AR 72143


                    State of Arkansas
                    Dept. of Finance & Admin.
                    Legal Counsel Room 2380
                    P O Box 1272
                    Little Rock, AR 72203-1272


                    Suntrust
                    Attn: Bankruptcy
                    Mail Code VA-RVW-6290 PO Box 85092
                    Richmond, VA 23286


                    Suntrust Bank
                    Attn: Bankruptcy
                    Po Box 85092 Mc Va-Wmrk-7952
                    Richmond, VA 23286
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                    Suntrust Bank
                    Attn: Bankruptcy
                    Mail Code VA-RVW-6290 PO Box 85092
                    Richmond, VA 23286


                    Suntrust Bank Atlanta
                    Attn: Bankruptcy
                    Mail Code VA-RVW-6290 PO Box 85092
                    Richmond, VA 23286


                    Synchrony Bank/Ashley Furniture
                    Attn: Bankruptcy
                    Po Box 965064
                    Orlando, FL 32896


                    Synchrony Bank/Gap
                    Attn: Bankruptcy Dept
                    Po Box 965060
                    Orlando, FL 32896


                    Synchrony Bank/Toys R Us
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896


                    United States Treasury
                    P.O. Box 7317
                    Philadelphia, PA 19101


                    US Bank/RMS CC
                    Attn: Bankruptcy
                    Po Box 5229
                    Cincinnati, OH 45201


                    White County Physicians Group
                    3214 East Race Avenue
                    Searcy, AR 72143


                    Wm. David Duke
                    GILL RAGON OWEN, P.A.
                    425 West Capitol Ave, Ste 3800
                    Little Rock, AR 72201
